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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

Richard MOLINA SANIPATIN,                               )
                                                        )
        Petitioner,                                     )
                                                        )
        v.                                              ) Case No. 1:25-cv-00120-PB-TSM
                                                        )
Pamela BONDI, Attorney General, U.S. Department of      )
Justice; Kristin NOEM, Secretary of the U.S. Department )
Of Homeland Security; Pete R FLORES, Acting Director, )
U.S. Customs and Border Protection; Juan G. BERNAL, )
Chief Patrol Agent of Houlton Sector; Scott NICHOLS,    )
Sr., Sheriff, Franklin County Detention Center,         )
                                                        )
        Respondents.                                    )
________________________________________________)

                FEDERAL RESPONDENTS’ MOTION FOR CLARIFICATION
                           TO EXTEND TIME TO ANSWER
            OR FILE A RESPONSIVE PLEADING TO WRIT OF HABEAS CORPUS

       Federal Defendants file this Motion for Clarification of the Court’s Minute Entry

followed by the Status Conference that was held on April 16, 2025, for the following reasons:

       1.      Petitioner filed a Writ of Habeas Corpus (DN 1) on March 24, 2025, and the

Court issued a procedural Order (DN 9) on April 9, 2025, directing Federal Respondents to file

an answer or dispositive motion within 14 days, so by April 24, 2025.

       2.      On April 16, 2025, the Court held a Status Conference where it raised

jurisdictional issues because Petitioner was transferred to New Mexico on April 8, 2025, after

filing the petition but before the issuing of the procedural Order. The Court directed Petitioner to

brief the issue of whether his transfer means that this case needs to be transferred to the District

of New Mexico, and for the Federal Respondents to respond seven days after.

       3.      The undersigned counsel therefore requests clarification confirming that the court

will need to decide jurisdiction before the case could otherwise proceed in this Court and that the
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Respondents will therefore have until 14 days after such determination to answer or otherwise

respond to Petitioner’s Writ.

       Due to the nature of this Motion, no supporting Memorandum of Law is required.

                                                   Respectfully submitted,

                                                   JOHN J. MCCORMACK
                                                   Acting United States Attorney


                                                   By: /s/ Raphael Katz
 Dated: April 24, 2025                             Raphael Katz
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